                       Case 4:16-cr-00019-BMM Document 343 Filed 01/11/18 Page 1 of 6

AO 24SB (Rev. 09117)   Judgment in a Crimina1 Case
                       Sheet I
                                                                                                                      JAN I j 2018
                                          UNITED STATES DISTRICT COURT Clerk. U S D,strlct Court
                                                                                                                     Dlstnct 01 Montana
                                                                District of Montana                                      Great Fails
                                                                           )
              UNITED STATES OF AMERICA                                     )       JUDGMENT IN A CRIMINAL CASE
                                   v.                                      )
                                                                           )
                   RICHARD LEE BROOME                                              Case Number: CR 16-19-GF-BMM-Ol
                                                                           )
                                                                           )       USM Number: 16341-046
                                                                           )
                                                                           )        Ethan A. Balogh
                                                                           )
THE DEFEl'I1>ANT:
Ii'! pleaded gUilty to count(s)         1 of the Supersed ing Information

o pleaded nolo contcndere to count(s)
   which was accepted by the court.
o was found gUilty on counl(s)
   .fter a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Tille & Section                   Nature of Offense                                                         Off.n•• Ended

 16 U.S.C. §4                       Misprision of a Felony                                                    October 2012




       Thc defendant is sentenced as provided in pages 2 through          _--=.6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s) _ _ _ _ _ _ _ _ _ _ _ 0 is                              o are dismissed on the motion ofthe United States.
         It is ordered that the defendant must notiry the United StJltes attorney for this district within 30 days of any Change ofname, residence.
or mailing address until all fmes. restitution, costs, and special assessment'! imposed by this jud!?OCnt are fully paid. ffordered to pay restitution,
the defendant must notifY the court and United States attorney of material changes in economic circumstances.




                                                                          Brian Morris, United States District Judge
                                                                         Name and Title pC )!,Idge
                   Case 4:16-cr-00019-BMM Document 343 Filed 01/11/18 Page 2 of 6
AD 245B (Rev. 09/17) Judgment in B. Criminal Cue
                     Sheet 4-Probation
                                                                                                    Judgment   Page ~ of             6
DEFENDANT: RICHARD LEE BROOME
CASE NUMBER: CR 16-19-GF-BMM-01
                                                           PROBATION
You are hereby sentenced to probation for a term of:
     3 years




                                                   MANDATORY CONDITIONS
1.  You must not commit another federal, state or local crime,
2.  You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance, You must submit to one drug test within 15 days of placement on
    probation and at least two periodic drug tests thereafter, as determined by the court.
               o
               The above drug testing condition is suspended, based on the court's detennination that you pose a low risk of future
               substance abuse. (check ifapplicable)
4.   0 You must cooperate in the colleelion of DNA as directed by the probation officer. (clreck/fappllcable)
5.   0 You must comply with the requirements of the Sex Offunder Registration and Notification Act (42 U.S.C. § 16901, el seq.)
         as directed by thc probation officer. the Bureau of Prisons, or any state sex offender registration agency in the location
         where you residc, work~ are a student, or wcre convicted of a qualifying offense. (check ifappUcable)
6,   0 You must participate in an approved program for domestic violence, (eMc" if applicable)
7.  0 You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (cJreck/f.pplicable)
8.  You must pay tbe assessment imposed in accordance with 18 U.S.C. § 3013.
9. Iftbis judgment imposes a fine, you must pay in accordanee with the Schedule of Payments sheet of this judgment.
10. You must notify thc court of any material change in your economic circumstanees that might affect your ability to pay restitution.
    fines, or special assessments.


You must comply with tbe standard conditions that have becn adopted by this court as well as with any other conditions on the attached
page.
                    Case 4:16-cr-00019-BMM Document 343 Filed 01/11/18 Page 3 of 6
  A024:SB (Rev. 09!l1) Judgment in a Crimina1 Case
                       Sheet 4A ~ ProbatiOll
                                                                                                 Judgmeot Page _-,3,,-_ of _ _ _6,,-__

DEFENDANT: RICHARD LEE BROOME
CASE NUMBER: CR 16-19-GF-BMM-01

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your probationl you must comply with the following standard conditions of supervision, These C{)nditions are imposed because
they establish the basic ex.peetations for your behavior while on supervision and identify the minimwn tools needed by probation officers
to keep informed, report to the court about! and bring about improvements in your conduct and condition,

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours ofthe time
      you were senteneed, unless the probation offieer instructs you to report to a different probation office or within a different time frame.
2,    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officert and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting pertnission ftom the
      court or the probation officer.
4.    You must answer truthfully 'he questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to ehaoge where you live or anything about your living
      arrangements (such as the people you live with), you must notifY the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circUnlStanees, you must notifY the probation officer within 72
      hours ofbecoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or eisewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view,
7.    You must work full time (at least 30 hours per week) at a lawful type ofemployment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. (fyou plan to ehange where you work or anything about your work (such as your position or your job
      responsibilities), you must notifY the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation offieer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in eriminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer,
9,    ]fyou are arrested or questioned by a law enforcement offieer, you must notifY the probation officer within 72 hours,
10.   You must not own, possess, or have access to a fireann, ammunition, destructive deviee, or dangerous weapon (Le., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person sueh "-' nunehakus or tasers).
11.   You must not aet or make any agreement with a law enforcement agency to aet as a confidential human source or infonnant without
      first getting tbe pennission ofthe court.
12.   If the probation officer detennines that you pose a risk to another person (including an organiz.ation), the probation officer may
      require YOll to notifY the person about the risk and you must comply with that instruction. The probation offieer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must fonow the instructions of the probation officer related to the eonditions of supervIsion.


U.S. Probation Office Use Only
A u.s. probation officer bas instructed me on the conditions specified by the court and bas provided me with • .,,'1itten eopy of this
judgment containing these conditions, For further infonnation regarding these conditions, see Overview 0/Probation (lnd Supervised
Release ConditiottlJ'. available at: www.usCQurts,gov"

Defendant'S Signature                                                                                     Date
                                                                                                                 -------
                    Case 4:16-cr-00019-BMM Document 343 Filed 01/11/18 Page 4 of 6
 AO 2458 (Rev. 09/11) Judgment in a Crinrlnal Cue
                      Sheet 4D - Probation
                                                                                           Judgment Page   4     or       6
DEFENDA]llT: RICHARD LEE BROOME
CASE NUMBER: CR 16-19-GF-BMM-01

                                         SPECIAL CONDITIONS OF SUPERVISION

 1. The defendant shall complete 200 hours of community service work, at a rate of not less than 15 hours per month as
 directed by the probation office.

2. The defendant shall submit his person, residence, vehicles, and papers, to a search, with or without a warrant by any
probation officer based on reasonable suspicion of contraband or evidence in violation of a condition of release. Failure to
submit to search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be
subject to searches pursuant to this condition, The defendant shall allow seizure of suspected contraband for further
examination.
                       Case 4:16-cr-00019-BMM Document 343 Filed 01/11/18 Page 5 of 6
AO 245B (Rey, 09/17)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                  Judgment    Page   _-,,5,--_ of        6
 DEFENDANT: RICHARD LEE BROOME
 CASE NUMBER: CR 16-19-GF-BMM-il1
                                               CRIMINAL MONETARY PENAL TIES
      The defendant must pay the total crimina! monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                     JVTA A .....ment·        Fine                         Restitution
 TOTALS            $ 100.00                     S N/A                      $ 10.000.00                  $ N/A


 o The determination of restitution is deferred until - - - • An Amended Judgment in a Criminal Case (,10 14jC) will be entered
      after such detennination,

 o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shan reeeive an approximately proportioned paYJll:ent. unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is pllld.

 Name of Payee                                                   Total Loss**           Restitution Ordered             Priority or Perccntale




TOTALS                               $ _ _ _ _ _---'-0•..;:,00"­                                 0.00


o     Restitution lllOOunt ordered pursuant to plea agreement $ _ _ _ _ _ _ _ _ __

o     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in fun before the
      fifteenth day after the date of the judgmen~ pursuant 10 18 U.S.C § 3612(1). All ofthe payment options on Sneet 6 may be subject
      to penalties for delinquency and default. pursuant to 18 U.S.C. § 3612(g).

o     The court determined that the defendant does not have the ability to pay interest IUld it is ordered that

      o the interest requirement is waived for the o fine 0 restitution.
      o the interest requirement for the 0 fine 0 restitution is modified as follows:
, Justice for Victims ofTrafficking Act of2015, Pub. L. No. 114-22<
.. Findings for the total amount oflosses are required under Chapters I09A, !lO, 11OA, and 1l3A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                      Case 4:16-cr-00019-BMM Document 343 Filed 01/11/18 Page 6 of 6
AO 245B (Re.... 09117) Judgment in a Criminal Case
                       Sbeet 6 Scbedu1e of Payments
                                                                                                                              6_ of
                                                                                                           Judgment ." Page _ _                  6
DEFENDANT: RICHARD LEE BROOME
CASE NUMBER: CR 16-19-GF-BMM-01


                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment oflhe total criminal monetary penalties is due as follows:

A     0       Lump sum payment of$                            due immediately, balance due

              0    not later than                                 , or
              0    in accordance with   0   C,    0    D,    0     E,or      o Fbelow; or
B     0       Payment to begin immediately (may be combined with          DC,          OD,or        o F below); or
C     0       Payment in equal                    (e.g., weekly, mon,hly, qUilnerly) installments of $                        over a period of
                           (e.g., months or years), to commence                   (e,g., 3Q or 60 days) after the date oflbi. judgment; or

D     0       Payment in equal                    (e.g., weekiy, _tn/y, quarterly) installments of $                         over a period of
             _ _ _ _ _ (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
              term ofsupervision; or

E     0       Payment during the term of supervised release will commence within                  (e.g" 30 or 60 days) atler release from
              imprisonment. The court will set the payment plan based on an assessment of the defendanCs ability to pay at that time; or

F     IiZ1    Special instruetions regarding the payment of eriminal monetary penalties:

               Special assessment shall be immediately due and payable. Fine is payable to the Clerk, United States District
               Court, Missouri River Courthouse, 125 Central Avenue West, Suite 110, Great Falls, MT 59404 designated
               "Special Assessment/Fine Richard Lee Broome-.



Unless the court has expressly ordered otherwise t ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties. exeept those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defundant shall reeeive credit for all payments previously made toward any criminal monetary penalties imposed.




o     Joint.ud Several

     Defendant and Co-Defendant Names and Case Numbers finc/udtng defendant numb<ir), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate,          '




o The defendant shall pay the cost ofprosecution.
o    The defeudan! shall pay the following court cost(s):

o The defendant shall forfeit tbe defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
